ALMB 6v2 (5/21/2024)
                                               United States Bankruptcy Court
                                                 Middle District of Alabama
IN RE:
Alexis Huffman
                  Debtor(s).                                              CASE NO.

                                                          Date June 12, 2024
                                                         CHAPTER 13 PLAN
                                                         Check If Amended Plan
                                                             Amended Plan
                                          Check if Proposed Modification to Plan After Confirmation

1.      NOTICES

        To Debtors:
        This form sets out options that may be appropriate in some cases, but the presence of an option on the form does
        not indicate that the option is appropriate in your circumstances. Plans that do not comply with the Local Rules of
        the United States Bankruptcy Court for the Middle District of Alabama and applicable judicial rulings may not be
        confirmable.

        To Creditors:
        YOUR RIGHTS WILL BE AFFECTED BY THIS PLAN. You should read this and other documents sent to you carefully and
        discuss them with your attorney. If you do not have an attorney, you may wish to consult one.

        TO FILE AN OBJECTION TO CONFIRMATION. If you oppose the plan's treatment of your claim or any provision of this plan,
        you or your attorney must file an Objection to Confirmation at least seven (7) days prior to the date fixed for the hearing on
        confirmation and must state with particularity the grounds for the objection. See Fed. R. Bankr. P. 3015.

        PROOFS OF CLAIM. Creditors must file a timely proof of claim to be paid under this plan. Confirmation of this plan does not
        bar the Debtor(s), Trustee, or a party in interest from objecting to a claim. Confirmation of this plan does not constitute the
        allowance or disallowance of the amount of the creditor's claim but does control how the claim will be paid under the plan.
        Unless otherwise ordered by the Court, the amount of the creditor's total claim listed on the proof of claim controls over any
        contrary amounts listed in this plan.

1.1      A limit on the amount of a secured claim which may result in a partial payment or      Included               Not Included
         no payment at all to the secured creditor, set out in paragraph 5.1. If the Included
         box is checked, the plan must be served on the affected creditor. Rule 3012,
         F.R. Bankr. P.
1.2      All lien avoidance shall be via motion pursuant to M.D. Ala. LBR 9007-1 using          Not Included
         Local Form 9.
1.3      Nonstandard provisions, set out in paragraph 16.                                       Included               Not Included


2.      PAYMENT AND LENGTH OF PLAN

        Debtor(s) will make regular payments to the Chapter 13 Trustee as follows
         $294.00 Bi-Weekly for 58 months beginning

The length of the plan is 58 months. Other payment provisions:

3.      FILING FEES

        The filing fee as prescribed by Local Rule 1006-1 shall be paid as follows:

                  Filing fee paid in full directly to the clerk of court with the petition.

                  Filing fee is being paid in installments pursuant to M.D. Ala., LBR 1006-1 through this plan as follows

                  Total filing fee:                                                                     $313.00
                  Initial installment paid with filing of petition:                                        0.00
                  Remaining balance to be paid through the chapter 13 plan:                             $313.00

4.      ATTORNEY'S FEES FOR DEBTOR'S BANKRUPTCY COUNSEL


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       The following attorney's fees shall be paid through the debtor's plan payments:
        Total attorney fee:                                                                              $4,500.00
        Amount paid by the debtor directly to attorney prior to filing:                                      $0.00
        Net attorney fee being paid through the chapter 13 plan disbursements:                           $4,500.00

5.       SECURED CLAIMS

         5.1 SECURED CLAIMS PAID THROUGH THE TRUSTEE WHERE PLAN LIMITS VALUE OF COLLATERAL

                  None.

                  The remainder of this paragraph will be effective only if the applicable box in paragraph 1.1 is checked.

                  The Debtor(s) request(s) that the Court determine the value of the secured claims listed below. For each
                  non-governmental secured claim listed below, the Debtor(s) state(s) that the value of the secured claim should be as
                  set out in the column headed “Collateral Value.” The portion of any allowed claim that exceeds the value of the claim
                  will be treated as an unsecured claim under Section 15 of this plan. If the amount of a creditor’s claim listed below is
                  listed as having no secured value, the creditor’s claim will be treated in its entirety as an unsecured claim under
                  Section 15 of this plan. Pursuant to 11 U.S.C. § 1322(b)(2), claims being paid under this section of the plan will be
                  modified.

                  For secured claims of governmental units, unless otherwise ordered by the Court, the value of a secured claim listed
                  in a proof of claim filed in accordance with the Federal Rules of Bankruptcy Procedure controls over any contrary
                  amounts listed below.

                  For each listed claim, the secured value of the claim will be paid with interest at the rate stated below.

                  The Debtor(s) propose(s) that the Trustee make adequate protection payments prior to the confirmation of this plan,
                  pursuant to 11 U.S.C. § 1326(a)(1), to the following creditors indicated below holding a purchase money security
                  interest in personal property. Only those creditors entitled to 11 U.S.C. § 1326(a)(1) adequate protection payments
                  will receive pre-confirmation payments from the Trustee. The Trustee shall commence making such payments to
                  creditors holding allowed claims secured by an interest in personal property consistent with the Trustee's distribution
                  process and only after the timely filing of a proof of claim by such creditor. The Trustee shall receive the percentage
                  fee fixed under 28 U.S.C. § 586(e) on all adequate protection payments. Preconfirmation adequate protection
                  payments shall be applied to the principal of the creditor's claim. Upon confirmation of this plan, all secured creditors
                  will receive adequate protection payments as set out below concurrently with the payment of attorney's fees. After
                  the attorney's fees have been paid in full, the creditor's claim shall be paid its specified monthly plan payments on the
                  terms and conditions listed below unless otherwise ordered by the Court.

                  The holder of any claim listed below as having value in the column headed “Collateral Value” will retain the lien on
                  the property interest of the Debtor(s) or the estate until the earlier of:
                  a) Payment of the underlying debt determined under nonbankruptcy law, or
                  b) Discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by
                  the creditor.

                                                                                         11 USC § 1326      Adequate           Specified
                     Collateral       Amount of         Collateral                         PMSI Adeq        Protection         Monthly
     Creditor       Description         Debt             Value          Interest Rate     Prot? Yes/No       Payment           Payment
Bay Credit        Sorento Kia           $23,586.67        $25,373.00        8.00%             Yes                $185.00          $587.00
Union             2021 69,000+
                  miles

         5.2 SECURED CLAIMS PAID THROUGH THE TRUSTEE WHERE VALUE IS NOT MODIFIED
                None.

             The claims listed below were either (1) incurred within 910 days before the petition date and secured by a purchase money
             security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within 1 year (365 days) of
             the petition date and secured by a purchase money security interest in some other thing of value. These claims will be paid
             in full under the plan with interest at the rate stated below, will not be affected by 11 U.S.C. § 506, and, unless otherwise
             ordered by the Court, will be paid in full pursuant to 11 U.S.C. §1325(a)(5). Unless otherwise ordered by the Court, the
             claim amount stated on the creditor’s proof of claim filed before the filing deadline under Fed. R. Bankr. P. 3002(c) controls
             over any contrary amounts listed below.

             The Debtor(s) propose(s) to pay adequate protection payments prior to the confirmation of this plan pursuant to 11 U.S.C. §
             1326(a) (1) to the following creditors holding a purchase money security interest in personal property through the payments

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           made to the Trustee pursuant to the plan. The Trustee shall commence making such payments to creditors holding allowed
           claims secured by an interest in personal property consistent with the Trustee's distribution process and only after the
           timely filing of a proof of claim by such creditor. The Trustee shall receive the percentage fee fixed under 28 U.S.C. §
           586(e) on all adequate protection payments. Pre-confirmation adequate protection payments shall be applied to the
           principal of the creditor's claim. Upon confirmation of this plan, all secured creditors will receive adequate protection
           payments as set out below concurrently with the payment of attorney's fees. After the attorney's fees have been paid in full,
           the creditor's claim shall be paid its specified monthly plan payments on the terms and conditions listed below as required
           under 11 U.S.C. § 1325(a)(5).

            The holder of any claim listed below will retain the lien on the property interest of the Debtor(s) or the estate until the earlier
            of:
            (a) Payment of the underlying debt determined under nonbankruptcy law, or
            (b) Discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
            creditor.

                                                                                           § 1326 PMSI                           Specified
                     Collateral       Amount of         Collateral                         Adeq Prot?         Adeq Prot          Monthly
     Creditor       Description         Debt             Value          Interest Rate         Yes/No            Pymt             Payment

6.       DIRECT PAYMENT
               None. If none is checked, the remainder of Section 6 does not need to be completed.

         The following secured creditors or holders of long-term debts will be paid directly by the Debtor(s) or Co-Debtor to the creditor.
         The Debtor(s) (or Co-Debtor) shall make all pre-confirmation adequate protection payments under 11 U.S.C. § 1326 directly to
         the following creditors pursuant to the terms of the contract with the creditor. The Debtor(s) (or Co-Debtor) shall continue to
         make all payments to the creditor directly pursuant to the terms of the contract following the confirmation of this plan.

       Creditor              Collateral           Amount of Debt          Collateral Value       Date Payment to          Direct Payment
                            Description                                                              Resume                   Amount

7.       LONG-TERM DEBTS MAINTAINED THROUGH PLAN
               None. If none is checked, the remainder of Section 7 does not need to be completed.

         The Debtor(s) propose(s) that the Trustee maintain the following long-term debts through this plan. The Trustee shall make
         adequate protection payments prior to confirmation of this plan pursuant to the terms of the contract, to all of the following
         long-term creditors indicated below. The Trustee shall commence making such payments to creditors holding allowed secured
         claims consistent with the Trustee's distribution process and only after the timely filing of a proof of claim by such creditor. The
         Trustee shall receive the percentage fee fixed under 28 U.S.C. § 586(e) on all payments. Upon confirmation of this plan, said
         long-term creditors will receive payments as set out below concurrently with the payment of the attorney's fees. Unless
         otherwise ordered by the Court, the amounts listed on a proof of claim filed before the filing deadline under Fed. R. Bankr. P.
         3002(c) control over any contrary amounts listed below as to the current installment payment. In the absence of a contrary
         timely filed claim, the amounts stated below are controlling. Pursuant to Fed. R. Bankr. P. 3002.1(b)(1), if the secured debt
         being maintained through this plan is secured by the principal residence of the Debtor(s), and the creditor files a notice of
         mortgage payment change, the payment to the creditor pursuant to the plan will change to the amount provided by the notice
         unless otherwise ordered by the Court.

         Creditor            Collateral Description           Amount of Debt              Collateral Value            Monthly Payment

8.       CURING DEFAULTS ON LONG-TERM DEBTS
               None. If none is checked, the remainder of Section 8 does not need to be completed.

         Pursuant to 11 U.S.C. § 1322(b)(5) the Debtor(s) shall cure defaults with respect to the creditors indicated below. Trustee shall
         pay the allowed claims for arrearages at 100% through this plan. Unless otherwise ordered by the Court, the amount of default
         to be cured under this provision shall be the amount of the allowed claim filed by the creditor. The "amount of arrearage" listed
         herein in no way shall limit what the Trustee shall distribute to said creditor under this plan to cure the default.

         Creditor            Collateral Description       Amount of Arrearage                Interest Rate            Monthly Payment

9.       SURRENDERED PROPERTY
              None. If none is checked, the remainder of Section 9 does not need to be completed.

         Debtor(s) elect(s) to surrender the following collateral. Upon confirmation, the automatic stay under 11 U.S.C. §§ 362(a) and
         1301(a) is terminated as to the property to be surrendered and in personam as to any codebtor(s) with respect to these
         creditors. Any claim filed as a secured claim by the creditor will receive no distribution under this plan until an amended


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       unsecured proof of claim is filed by such creditor reflecting any deficiency balance remaining following surrender, if
       appropriate. Any allowed deficiency claim will be treated as an unsecured claim under Section 15 of the plan below.

            Creditor                    Collateral Description                 Amount of Debt                   Value of Collateral

10.      Domestic Support Obligations

            None. If none is checked, the remainder of Section 10 does not need to be completed.

         The Debtor(s) propose(s) that the prepetition domestic support obligation arrearage claims indicated below shall be paid in full
         through this plan pursuant to 11 U.S.C. § 507(a)(1) unless the claimant agrees to some other treatment or the Court orders
         otherwise. The Debtor(s) shall directly pay all ongoing domestic support obligations that become due after filing of the petition.

         Claimant               Amount of Debt       Amount of Debt to be        Interest Rate    Monthly Payment        Direct Payment
                                                      paid through plan

11.      PRIORITY CLAIMS (Excluding Domestic Support Obligations)
           None. If none is checked, the remainder of Section 11 does not need to be completed.

         The Debtor(s) will pay the following priority claims pursuant to 11 U.S.C. § 507 unless the claimant expressly agrees to some
         other treatment or the Court orders otherwise.

               Claimant                     Amount of Debt        Amount of Debt to be        Interest Rate         Monthly Payment
                                                                   paid through plan

12.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES
           None. If none is checked, the remainder of Section 12 does not need to be completed.

         12.1 EXECUTORY CONTRACTS AND UNEXPIRED LEASES REJECTED BY DEBTOR(S)
            None. If none is checked, the remainder of Section 12.1 does not need to be completed.

Upon confirmation, the automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is terminated as to the property subject to the lease(s) or
contract(s) and in personam as to any codebtor(s) with respect to these counterparties and/or lessors.

                           Creditor                                   Nature of Unexpired Lease or Executory Contract

         12.2 EXECUTORY CONTRACTS AND UNEXPIRED LEASES TO BE ASSUMED BY DEBTOR(S)
            None. If none is checked, the remainder of Section 12.2 does not need to be completed.

                  12.2(a) Executory Contracts and Unexpired Leases Assumed by Debtors(s)
                     None. If none is checked, the remainder of Section 12.2(a) does not need to be completed.

                  For all executory contracts or unexpired leases being assumed by the Debtor(s) pursuant to this plan, the Debtor(s)
                  shall make all pre-confirmation 11 U.S.C. § 1326 adequate protection payments directly to the creditors pursuant to
                  the terms of the contract unless the plan provides for the disbursement of the ongoing lease payments through the
                  Trustee. The adequate protection payment under 11 U.S.C. § 1326 is equal to the monthly payment under the terms
                  of the lease or contract. For all contracts assumed, the Debtor(s) shall continue to make all payments directly to the
                  creditor pursuant to the terms of the contract following confirmation unless the plan provides for the payment of the
                  ongoing lease or contract payment through the Trustee.

            Creditor                  Name of Lease or Contract                Monthly Payment             Payment Direct by Debtor or
                                                                                                              Through Trustee Plan
                                                                                                                   Payment

                          12.2(b) Curing Defaults on Executory Contracts and Unexpired Leases

                     None. If none is checked, the remainder of Section 12.2(b) does not need to be completed.

                  Pursuant to 11 U.S.C. § 1322(b)(5), the Debtor(s) shall cure defaults with respect to any arrearage owed to the
                  creditors whose unexpired leases or executory contracts were assumed in Section 12 above. The Debtor(s) shall pay
                  the allowed claims for arrearages through this plan. Unless otherwise ordered by the Court, the amount of default to
                  be cured under this provision shall be the amount of the allowed claim filed by the creditor. The "amount of arrearage"
                  listed herein will in now way limit what the Trustee shall distribute to said creditor under this plan to cure the default.



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           Creditor                   Name of Lease or Contract         Amount of Arrearage          Interest Rate       Monthly Payment

13.      SPECIALLY CLASSIFIED UNSECURED CLAIMS
             None. If none is checked, the remainder of Section 13 does not need to be completed.

         The following claims shall be paid as specially classified unsecured claims and shall receive the following designated
         treatment:

         Creditor                Amount of Debt           Amount of Debt to be              Interest Rate              Specified Monthly
                                                           Specially Classified                                            Payment

14.      UNSECURED CLAIMS
         Allowed non-priority unsecured claims and the unsecured portion of claims allowed and described under Section 5 of this plan
         that are not separately and specially classified will be paid as follows:
            Percentage Plan: Allowed non-priority unsecured claims shall be paid through the distribution of plan payments at a rate of
             0.00%

If the proposed dividend to unsecured creditors is less than 100%, the Debtor(s) propose(s) to pay to the Trustee all projected
disposable income for the applicable commitment period for the benefit of unsecured creditors as required by 11 U.S.C. §1325(b).

15.      PROPERTY OF THE ESTATE - VESTING

         Vesting of Property of the Estate
           Property of the estate shall remain property of the estate subsequent to confirmation of this plan.

         All property of the estate, whether it remains in the estate or revests with the Debtor(s) upon confirmation of the plan, shall
         remain in the possession and control of the Debtor(s). The Debtor(s) shall have use of property, subject to the requirements of
         11 U.S.C. § 363.

16.      NONSTANDARD PROVISIONS

                 None.
         Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not
         otherwise included in Local Form 5 or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

                  The following plan provisions will be effective only if “Included” is selected in paragraph 1.3.


IF THE DEBTOR BECOMES ENTITLED TO RECEIVE PROCEEDS FROM ANY CAUSE OF ACTION DURING THE PENDENCY
OF THIS CASE, THE DEBTOR WILL PAY THOSE PROCEEDS, LESS ANY AVAILABLE EXEMPTIONS, TO THE CHAPTER 13
TRUSTEE

17.       SIGNATURES OF DEBTOR AND DEBTOR’S ATTORNEY
          If the Debtor(s) do/does not have an attorney, the Debtor(s) must sign below; otherwise, the signature(s) of the Debtor(s) is/are
          optional. The attorney for the Debtor(s), if any, must sign below.
      /s/ Alexis Huffman
      Alexis Huffman                                                     Signature of Joint Debtor
      Signature of Debtor

      Executed
      on            June 12, 2024                                       Executed on

    /s/ Michael D. Brock                                                Executed on June 12, 2024
    Michael D. Brock BRO152
Signature of Attorney for Debtor(s)




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